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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

RICHARD GILLIAM                                                                  PLAINTIFF
#209415

V.                                No. 4:20CV00764-JM-JTR

BERRYMAN, OIC/Deputy,
Lonoke County Sheriff’s Office, et al.                                       DEFENDANTS




                                          ORDER

       For good cause shown, plaintiff Richard Gilliam’s motions for voluntary dismissal of

defendants OIC/Deputy Berryman and Lieutenant Gebhardt [Docs. 9 & 12] are granted. His claims

against Berryman and Gebhardt are dismissed without prejudice.

       Dated this 22nd day of October, 2020.




                                                       ________________________________
                                                       UNITED STATES DISTRICT JUDGE
